            Case 2:16-cr-00376-RFB Document 72 Filed 11/30/21 Page 1 of 3




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 6
     Attorney for Alonso Fontes-Verdugo
 7
 8                               UNITED STATES DISTRICT COURT

 9                                    DISTRICT OF NEVADA

10
     UNITED STATES OF AMERICA,                           Case No. 2:16-cr-00376-RFB
11
                    Plaintiff,                               STIPULATION TO CONTINUE
12                                                             REVOCATION HEARING
            v.
                                                                   (Third Request)
13
     ALONSO FONTES-VERDUGO,
14
                    Defendant.
15
16
            IT IS HEREBY STIPULATED AND AGREED, by and between Christopher Chiou,
17
     Acting United States Attorney, and Jared Grimmer, Assistant United States Attorney, counsel
18
     for the United States of America, and Rene L. Valladares, Federal Public Defender, and Jawara
19
     Griffin, Assistant Federal Public Defender, counsel for Alonso Fontes-Verdugo, that the
20
     Revocation Hearing currently scheduled on December 2, 2021, be vacated and continued to a
21
     date and time convenient to the Court, but no sooner than thirty (30) days.
22
            This Stipulation is entered into for the following reasons:
23
            1.      Defense is attempting to work out a global resolution for Mr. Verdugo’s two
24
     matters.
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            2.      Defense Counsel had to have several documents translated and sent to Mr.
26
     Verdugo. The documents have recently been translated and sent to Mr. Verdugo.
          Case 2:16-cr-00376-RFB Document 72 Filed 11/30/21 Page 2 of 3




 1         3.     The defendant is in custody and agrees with the need for the continuance.
 2         4.     The parties agree to the continuance.
 3         This is the third request for a continuance of the revocation hearing.
 4         DATED this 29th day of November, 2021.
 5
 6   RENE L. VALLADARES                              CHRISTOPHER CHIOU
     Federal Public Defender                         Acting United States Attorney
 7
 8
     By /s/ Jawara Griffin                           By /s/ Jared Grimmer
 9   JAWARA GRIFFIN                                  JARED GRIMMER
     Assistant Federal Public Defender               Assistant United States Attorney
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           Case 2:16-cr-00376-RFB Document 72 Filed 11/30/21 Page 3 of 3




 1                              UNITED STATES DISTRICT COURT

 2                                    DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                          Case No. 2:16-cr-00376-RFB
 4
                   Plaintiff,                           ORDER
 5
            v.
 6
     ALONSO FONTES-VERDUGO,
 7
                   Defendant.
 8
 9
10          IT IS THEREFORE ORDERED that the revocation hearing currently scheduled for

11   Thursday, December 2, 2021 at 11:00 a.m., be vacated and continued to ________________
                                                                            January 6, 2022 at

12   the hour of ___:___
                  11 00 __.m.;
                         a     or to a time and date convenient to the court.

13                     30thday of November, 2021.
            DATED this ___

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                                                 RICHARD F. BOULWARE, II
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                                                 UNITED STATES DISTRICT JUDGE
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